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United States District Court MAR ~ 6 2017

 

 

 

 

 

 

 

 

 

NORTHERN DISTRICT OF CLUREXAS DISTRICPCOURT
By
* Deputy
UNITED STATES OF AMERICA
V. COMPLAINT
Said Azzam Mohamad Rahim CASE NUMBER: 3-17-MJ-_ | TI 5 K

I, the undersigned complainant being duly sworn state the following is true and correct to
the best of my knowledge and belief. On or about March 5, 2017, in the Northern District of
Texas, defendant(s) Said Azzam Mohamad Rahim did, in a matter within the jurisdiction of
the executive, legislative, or judicial branch of the Government of the United States,
knowingly and willfully make a materially false, ficticious, or fraudulent statement or
representation in an offense involving international or domestic terrorism in a matter
within the jurisdiction of the Federal Bureau of Investigation, ,
in violation of Title 18, United States Code, Section(s) 1001.

I further state that Iam a(n) Special Agent with the Federal Bureau of Investigation (FBI)
and that this complaint is based on the following facts:

See attached Affidavit of Special Agent Dwayne Golomb, (FBI) which is incorporated
and made a part hereof by reference.

Continued on the attached sheet and made a part hereof: — Yes No

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/1I Dwayfie Golomb

Special Agénty (ey
Sworn to before me and subscribed in my snne’3 cb ara . 6f\March, 2017, at Dallas,
Texas.

NEE HARRYS ROLY
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION
AFFIDAVIT
I, Dwayne Golomb, being first duly sworn, hereby depose and state as follows:
AGENT BACKGROUND

1. [ama Special Agent with the Federal Bureau of Investigation, and have been
since 2003. I have been assigned as a counterterrorism agent for eleven of those years.
Pursuant to that assignment, I received extensive training in terrorism-related matters as
well as in investigation and exploitation of computers and social media. I have been
involved in numerous counterterrorism investigations and prosecutions, and I have
extensive experience in obtaining legal process in those investigations.

FOREIGN TERRORIST ORGANIZATIONS

2. On or about October 15, 2004, the United States Secretary of State designated
al- Qaeda in Iraq (AQI), then known as Jam ‘at al Tawid wa’ al-Jahid, as a Foreign
Terrorist Organization (FTO) under Section 219 of the Immigration and Nationality Act
and as a Specially Designated Global Terrorist entity under section 1(b) of Executive
Order 13224. On or about May 15, 2014, the Secretary of State amended the designation
of AQI as an FTO under Section 219 of the Immigration and Nationality Act and as a
Specially Designated Global Terrorist entity under section 1(b) of Executive Order 13224

to add the alias Islamic State of Iraq and the Levant (ISIL) as its primary name.
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3. The Secretary of State also added the following aliases to the FTO listing: The
Islamic State of Iraq and al-Sham (“ISIS” — which is how the FTO will be referenced
herein), The Islamic State of Iraq and Syria, ad-Dawla al-Islamiyya fi al-Iraq wa-sh-
Sham, Daesh, Dawla al Islamiya, and Al-Furquan Establishment for Media Production.
On September 21, 2015, the Secretary added the following aliases to the FTO listing:
Islamic State, ISIL, and ISIS. To date, ISIS remains a designated FTO.

4. Abu Bakr al-Baghdadi (Al-Baghdadi) is the leader of ISIS. On October 4,
2011, the United States Department of State listed Al-Baghdadi as a Specially Designated
Global Terrorist. |
ISIS’s Use of Social Media

5. Beginning in 2014, ISIS instituted a well-developed propaganda program that
employs all aspects of social media to advance its posal and its calls for attacks on behalf
of ISIS. Al-Baghdadi has openly called for the migration of ISIS members to fight in
Syria in order to facilitate the establishment of the Islamic State and for individuals to
engage in violent jihad in support of ISIS.

6. From on or about August 2014 to August 30, 2016, Sheikh Abu Mohammad al-
Adnani (Al-Adnani) was ISIS’s official spokesman and a senior leader under ISIS leader
Al-Baghdadi. Al-Adnani was listed as a Specially Designated Global Terrorist by the

United States government in August 2014. Al-Adnani was killed on August 30, 2016.
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Since as early as 2014, Al-Adnani began publicly calling for the murder of non-Muslims
in western countries on behalf of ISIS. For instance, on September 21, 2014, ISIS
released a speech by Al-Adnani entitled “Indeed your Lord Is Ever Watchful,” which was
significant because it was the first official instruction by ISIS for its supporters to kill
non-Muslims in Western Countries. Among other things, Al-Adnani said, “if you can kill
a disbelieving American or European .. . including the citizens of the countries that
entered into a coalition against the Islamic State, then rely upon Allah, and kill him in any
manner or way however it may be. Smash his head with a rock, or slaughter him with a
knife, or run over him with your car, or throw him down from a high place, or choke him,
or poison him,” and “rise and defend your state from your place where you may be.”

7. In addition, in an over 31-minute audio statement distributed on Twitter on
May 21, 2016, Al-Adnani asked Allah to make Ramadan (which corresponded to June
and July 2016) “a month of ruin for the nonbelievers” and urged “soldiers of the caliphate
in Europe and America” to carry out attacks and to target civilians, for “there are no so-
called innocents.” Al-Adnani’s calls for violence and speeches have been widely

distributed on social media by ISIS supporters.

 
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FACTS OF THE INVESTIGATION

8. FBI became aware of a social media application that is used by ISIS supporters
to promote ISIS calls for violent terrorist attacks and advocated for individuals to travel
to ISIS-occupied areas to support ISIS. On January 5, 2017, a search warrant was
executed on the social media application. Material produced by the social media
application pursuant to that search warrant illustrates that Rahim, and others known and
unknown, have utilized the application with various usernames, both together and with
others, to solicit violence, support ISIS, praise ISIS’s violent activities and encourage
individuals to travel to [SIS-occupied areas to support and engage in violent jihad.

9. A review of these search warrant returns revealed Rahim participated in
"numerous conversations about ISIS. Some examples of conversations from January 2016
to January 2017 follow.

10. On July 14, 2016, an attacker drove a 19-ton cargo truck into a large crowd of
people celebrating Bastille Day in Nice, France, resulting in the deaths of 86 people and
injuring 434 people. ISIS publicly claimed responsibility for the attack.

11. On July 15, 2016, Rahim spoke about the attack on the social media
application. That morning Rahim greeted the application’s other followers stating
“Peace be upon you. I renew my welcome to you brothers, and may you have a great

morning. France will wake up to a [Beeping] tragedy, a catastrophe [Chuckle] and a
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mass-massacre, and a massacre [Noise]. Uh and a great killing, implemented [Noise] by
a lion, one of God’s lions. Uh, against those infidel French.”

12. On August 17, 2016, Rahim spoke on the application and credited it with
facilitating communication between ISIS supporters. Among other things he stated that
there were plenty of “brothers” that were in the channel where they talked together by
voice and then met in the land of jihad. Rahim stated that God would bring them into the
land of jihad. Rahim bragged that his words could incite others to mobilize:

Yes, how many brothers were here, talked to each other by
voice, and then met in the land of Jihad....You meet brothers
from many, many countries... We beseech Almighty God to
send us to the land of jihad. The other issue, honorable
brothers, is do not, I mean, underestimate these program,
programs ... on which we are talking right now. Do not take
them for granted at all. Er, how many persons mobilized
because of [similar social media applications], or I swear, if
you use these sites for what pleases God, they will be
extremely useful. How much more useful would they be when
those who use them do so for Jihad, and for inciting for Jihad

for the cause of God!...Yes, honorable brothers, many
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mobilized as a result of one word on this channel... mean a
chant which revived the fervor, and the Mujahidin mobilized.

13. On August 28, 2016, Rahim and four other members of the social media
platform participated in a conversation during which one user (User 1) interrupted a
second user (User 2) and said “I don’t want to interrupt...but with your permission,
Sheikh; I reside in Manchester, Britain and work with persons who are all foreigners. Is
killing them permissible? Is killing them permissible or not, or bombing them or
anything else? I want to... to understand this matter from the Sheikhs of the State. Is
killing any person permissible?” Based on my review of this discussion and the fact that
this channel is used regularly to discuss the Islamic State, it is my understanding that
when User | interrupted User 2 and referred to him as “Sheikh” and later stated that he
wanted to understand this from the “Sheikhs of the State” he was referring to the Sheikhs
or leaders of ISIS, and considered User 2 to be an ISIS Sheikh. Further, it is my belief
that User 1’s use of the term “foreigners” in this conversation meant those individuals
located in Manchester, England who do not follow Islam. User 2 answered that the
Quran says: “Fight the Pagans all together.” User 2 then explained that it did not matter
that User 1 went to Europe to work for money; that “God has given him everything and
[he] does not owe them [the foreigners] anything." It is my assessment that User 2 was

informing User 1 that killing of non-Muslims in England was permissible.
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14. Rahim then answered User | by stating

“OK, may God Bless you. I was going to grab the microphone so I
would tell him, the one in Manchester. OK, kill and do not consult anyone
or seek the opinion of others; kill. Kill them and do not show them mercy
or compassion for neither the civilian clothes protect them nor the military
uniform sanctions the shedding of their blood, they are all the same in their
unbelief. Kill them I mean... don’t even consult with anyone. Go and kill,
if you have the ability to go and kill, poison them, throw a rock, push down
a building, do whatever you do; the important thing is that you kill. Kill
with intention of waging jihad for the sake of Allah, and the intention that
your banner is clear, the banner of ‘[t] here is no god but Allah and
Muhammad is the Messenger of Allah’. . . kill them I mean with the
intention of jihad, with the-the intention of you being a mujahid for the sake
of God, maybe this act, I mean, forgives your past and future
transgressions. Rely on God; kill if you have a chance, to hell with those
Englishmen... The killer of an infidel will not go to hell. It is well known
that shedding the blood of the infidel is lawful; shedding the blood of the
infidel is lawful. But, if they say to you in this case that he was a

safeguarded ally, then where is the Islamic State that this infidel lives in to
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be considered an ally and a free non-Muslim under Muslim rule? Does he
pay Jizyah [tax]? Does he, does he, does he? No! So, kill, kill... if you
ask the scholars of the tyrants they will tell you not to kill him. But, kill
him, rely on Allah and kill them. Think of a way to kill the biggest number
possible of those, may Allah’s curse fall on them.”

15. On December 16, 2016, Rahim spoke on the application about some of the
“brothers” who are in Turkey now and that they should pledge allegiance to the Islamic
State and act as lone wolves in Turkey. Rahim said that they should attack the Turkish
government, its offices, its police, its citizens, tourist locations, ports, nightclubs, and
anything that is Turkish should become a target. Rahim added that the listeners should
take what he is saying seriously.

16. On December 31, 2016, an attack was conducted on a nightclub in Istanbul,
Turkey wherein 39 people were killed, and the victims included the nationals of 14
countries. ISIS claimed responsibility for the attack.

17. On January 2, 2017, Rahim spoke on the application and referred to the
Turkish nightclub bombing as a continuation of ISIS’s work. Rahim praised the mission
and said that the way the Caliphate Islamic State celebrates is by exploding their pure

bodies [the suicide bombers] in your [the victims] filthy pernicious bodies. Rahim

referred to Al-Adnani’s speech and said, “kill them and do not consult anyone.”
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18. A review of airline records revealed that on February 11, 2017, Rahim
purchased an airline ticket with the following details: Lufthansa flight 439 departing
Dallas-Fort Worth International Airport (DFW) on March 5, 2017 at 4:10 for Amman,
Jordan (via Frankfurt, Germany), and Lufthansa flight 693 returning from Amman,
Jordan on May 9, 2017. Though Rahim has family in Jordan, I am also aware that
Jordan is used by some ISIS supporters as an avenue to travel to join ISIS.

19. On March 5, 2017, Rahim arrived at DFW airport and after checking in at the
Lufthansa ticketing counter, proceeded through the security checkpoint in Terminal D.
Immediately after he passed through the checkpoint, I and Special Agent Dan Glick
approached Rahim in order to determine his intention for traveling and his activities on
the social media application. I asked if he would voluntarily participate in an interview.
Rahim voluntarily agreed to be interviewed in a room at Gate D12, which was
immediately adjacent to Rahim’s departure Gate D11.

20. The interview was recorded, and at the outset I advised Rahim that I was an
FBI agent assigned to the Joint Terrorism Task Force and Special Agent Glick was also
assigned to the Joint Terrorism Task Force. | advised Rahim that our job was to
investigate acts of terrorism. I also advised Rahim that it was a federal crime to lie to me.
Rahim confirmed that he understood, and that he would voluntarily participate in the

interview.
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FALSE STATEMENTS

21. During the interview, Special Agent Glick asked Rahim about many of his
conversations with ISIS supporters, [SIS terrorist attacks and individuals who appeared
be in or have traveled to Syria to [SIS-controlled areas. During that questioning Special
Agent Glick asked Rahim, “[h]ave you ever promoted violence on behalf of the Islamic
State, (ISIS, ISIL, Daesh)”? Rahim responded “no.” (See paragraphs 11, 12, 13, 15, and
17).

22. During the interview Special Agent Glick asked Rahim “do you know anyone
who has ever promoted an act of terrorism”? Rahim responded “no.” (See Paragraph
13).

23. Rahim acknowledged that he heard about the December 31, 2016 attack ona
nightclub in Turkey. I asked Rahim, “[h]ave you ever praised this attack in Turkey’?
Rahim responded “no.” (See paragraph 17).

CONCLUSION

24. Based on the foregoing facts and circumstances, there is probable cause to
believe that on March 5, 2017, in the Northern District of Texas, Said Azzam Mohamad
Rahim, did knowingly and willfully make and cause to be made materially false,
fictitious and fraudulent statements and representations in an offense involving

international or domestic terrorism in a matter within the jurisdiction of the Federal

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Bureau of Investigation, by falsely stating to federal law enforcement agents that he had
never promoted violence on behalf of ISIS, that he did not know anyone who had

promoted an act of terrorism, and that he had not praised the December 2016 attack in

‘Turkey.

 

Lut,

/ DWAYNE C GOLOMB
Special Agent, FBI
Dallas,-Fexas

   
 

Subscribed and sworn to before me this 6th day of

 

HON. RENEE HARRIS TOLIVER
United States Magistrate Judge
Northern District of Texas

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